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                      IN THE UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF PENNSYLVANIA


EVANSTON INSURANCE COMPANY,
10 Parkway North
Deerfield, IL 60015,
                                                 Civil Action No. 2:21-CV-781
              Plaintiff,

              v.

ATLANTIC CONCRETE CUTTING, INC.,
396 North Pemberton Road
Mount Holly, NJ 08060,

               and,

AGATE CONSTRUCTION COMPANY,
1030 Route 83
Clermont, NJ 08210                               STIPULATION OF DISMISSAL
                                                 WITHOUT PREJUDICE
              Defendants.


                STIPULATION OF DISMISSAL WITHOUT PREJUDICE


       WHEREAS, this is an action seeking a declaratory judgment that Plaintiff Evanston

Insurance Company does not owe insurance coverage to Defendants Atlantic Concrete Cutting,

Inc. and Agate Construction Company in connection with a matter filed in Philadelphia County,

Pennsylvania (the “Underlying Matter”), the Underlying Matter styled as Kimberly Bolden-

Johnson, individually and as the adminstratrix of The Estate of John Calvin Johnson, deceased,

v. Agate Construction Company, Inc.; Johnson Enterprises; Philaport; Philadelphia Regional

Port Authority v. Atlantic Concrete Cutting, Inc., with related cases having been consolidated

under that caption and under the Case ID January Term 2018, No. 1066.
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       AND WHEREAS, Defendant Agate Construction Company settled the Underlying

Matter as to Plaintiff’s claims on January 9, 2020.

       AND WHEREAS, Defendant Agate Constriction Company sought and received a non-

jury trial in Philadelphia County on the sole remaining claim in the Underlying Claim, which

was the issue of whether Defendant Atlantic Concrete Cutting, Inc. owed Defendant Agate

Construction Company indemnification based on contract;

       AND WHEREAS, on May 25, 2021, Judge Abbe Fletman of the Philadelphia County

Court of Common Pleas issued a directed verdict in favor of Defendant Atlantic Concrete

Cutting, Inc. and against Defendant Agate Construction, and later amended their findings and

conclusions to reflect entry of a nonsuit instead of a directed verdict;

       AND WHEREAS, on October 15, 2021, the Underlying Matter was appealed by

Defendant Agate Construction to the Superior Court of Pennsylvania;

       AND WHEREAS, on June 10, 2021, with all parties having agreed that the issues raised

in the Underlying Matter were relevant to this Declaratory Judgment Action, this Court placed

this matter in civil suspense;

       AND WHEREAS, on September 30, 2022, the Superior Court of Pennsylvania upheld

the trial court’s decision to enter nonsuit against Agate Construction Company.

       AND WHEREAS, on April 5, 2023, the petition for allowance of appeal to the

Pennsylvania Supreme Court filed by Agate Constriction Company was denied;

       THEREFORE, the parties to this Declaratory Judgment Action stipulate to dismiss this

Declaratory Judgment Action without prejudice.


BY: /s/ Erin E. Lamb                                                  Date: 7/16/2024
        Paul Piantino, Esq.
        Erin E. Lamb, Esq.
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       Attorneys for Plaintiff
       Evanston Insurance Company



BY: /s/ Dennis Chow                       Date:       7/16/2024
        Dennis Chow, Esquire
        Attorneys for Defendant,
        Atlantic Concrete Cutting



BY: Louis A. Bove                         Date:       7/16/2024
      Louis A. Bove, Esq.
      Attorney for Defendant,
      Agate Construction Company
